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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              REPLY OF DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED
13               Plaintiffs,                   AND Q CYBER TECHNOLOGIES
14                                             LIMITED’S IN SUPPORT OF MOTION
           v.
                                               FOR ENTRY OF PROTECTIVE ORDER
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,         [Filed Concurrently with [Proposed] Order]
16
                 Defendants.                   Date:    September 9, 2020
17                                             Time:    9:00 a.m.
                                               Ctrm:    3
18                                             Judge:   Hon. Phyllis J. Hamilton
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                                               Action Filed: 10/29/2019
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      REPLY IN SUPPORT OF DEFENDANTS’                                Case No. 4:19-cv-07123-PJH
      MOTION FOR ENTRY OF PROTECTIVE
      ORDER
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 1
            I.      INTRODUCTION
 2
            The Court should enter an interim protective order because (1) a protective order is urgently
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     needed to allow Defendants to disclose very important information to the Court and Plaintiff’s
 4
     outside counsel, including information that bears directly on Plaintiffs’ Motion to Compel
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     Discovery [Dkt No. 116]; and (2) while Defendants thought they had reached agreement last week
 6
     on a “comprehensive” stipulated protective order with Plaintiffs, as of now the parties are unable
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     to reach agreement as to the export control law language in a stipulated protective order, which is
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     of paramount importance to this case because the technology at issue in this case is subject to
 9
     Israel’s Defense Export Control Law (“DECL”). Until the parties can reach agreement about the
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     export control language in a comprehensive protective order (or reach an impasse and present their
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     dispute to the Court for resolution and obtain a ruling), Defendants are unable to be disclose
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     information about certain recent developments to the Court and to Plaintiffs’ outside counsel. A
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     protective order is urgently needed. Understanding this need, Plaintiffs seek to use it as leverage
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     to try to force Defendants to agree to a number of onerous requirements well beyond those
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     contemplated in the court’s model protective order, as it relates to export control.
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            Plaintiffs’ complaints that Defendants’ proposed protective order is missing certain terms
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     from the model order is ironic and disingenuous, given that, on July 31, 2020, Defendants first
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     asked Plaintiffs to agree to enter the model protective order in its entirety as an interim measure.
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     Plaintiffs’ counsel flatly rejected the notion of a “20-page interim protective order” and asked
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     Defendants’ counsel to present something more streamlined, (which Defendants then did, and
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     which Plaintiffs subsequently refused even to discuss). Nonetheless, Defendants have attached to
22
     this reply brief a new [Proposed] Protective Order that adds to the version submitted by Defendants
23
     concurrently with their motion [Dkt. No. 114] the terms from the model protective order Plaintiffs
24
     identify in their Opposition as missing from Defendants’ proposal. The only exception is that
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     Defendants must ask the Court to preclude the disclosure of information designated as Highly
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     Confidential—Attorney’s Eyes Only to any persons other than the Court and Plaintiffs’ outside
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     counsel (such as in house counsel, experts, vendors and staff) except as agreed by the parties, so
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 1   that Defendants may comply with their legal obligations in the present unique situation.

 2          II.      ARGUMENT

 3          A. Defendants Attempted to Meet and Confer with Plaintiffs; Plaintiffs Refused to Discuss

 4                the Substance of the Interim Protective Order

 5          On Friday, July 31, 2020, Defendants’ counsel explained the urgent need for an interim

 6   protective order to Plaintiffs’ counsel and whether Plaintiffs would agree to enter the model order

 7   in its entirety on an interim basis. (Akro. Decl. [Dkt. No. 115-1] ¶ 5). Plaintiffs’ counsel refused,

 8   on the grounds that they were not interested in reviewing a 20-page interim protective order and

 9   presenting it to Plaintiffs. (Id.) Defendants’ counsel then suggested entering into a simplified

10   version of the model protective order until the parties could reach agreement on a more

11   comprehensive order, and Plaintiffs’ counsel agreed that might be workable as a concept. (Id. ¶

12   6). Later that same day, Defendants’ counsel sent Plaintiffs substantially the same Proposed

13   Protective Order Defendants attached to their Motion. (Id.)

14          On Monday, August 3, Plaintiffs’ counsel informed Defendants that they were not

15   interested in discussing Plaintiffs’ proposal for an interim protective order or any of the terms

16   thereof, nor were they willing to agree to have this Motion heard on shortened time. (Id. ¶ 7).

17   Plaintiffs claim that “the Parties did not discuss NSO’s new proposed protective order in any

18   meaningful detail.” (Opp. at 2:20-21). This is true, because Plaintiffs refused to do so. (Akro

19   Decl. ¶ 7.) In that same August 3 telephone conference, Defendants’ counsel then conferred with

20   Plaintiffs’ counsel about the comprehensive protective order for 75 minutes.           Immediately

21   thereafter, Defendants’ counsel took stock of the parties’ positions and subsequently prepared and

22 filed this Motion. (Id.) Plaintiffs’ counsel’s declaration omits certain of the events set forth above

23 (namely the offer by Defendants to enter the model protective order in its entirety), but does not

24 dispute or contradict any of them. In short, Defendants have more than complied with their meet

25 and confer obligations under Local Rule 37-1.

26          B. A Protective Order is Urgently Needed, and it is Uncertain When Parties Will Reach

27                Agreement on a Comprehensive Protective Order

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 1            As Defendants have explained in the Motion and several other filings, they are in

 2   possession of information that is of great importance to the Court and Plaintiffs in the orderly

 3   management of the case and the parties’ litigation of it. Without a protective order in place

 4   precluding Plaintiffs’ outside counsel from disseminating this information, Defendants cannot

 5   share the information without violating other legal obligations. Plaintiffs take Defendants to task

 6   for not identifying those legal obligations [Opp. at 3:7]. Unfortunately, the same legal obligations

 7   that prevent Defendants from disclosing the substantive information in the absence of a protective

 8   order also prevent Defendants from identifying those legal obligations or the nature or source

 9   thereof. Without a protective order in place, Defendants will be unable to present to the Court and

10   to Plaintiffs’ outside counsel important information bearing on the entire litigation, and particularly

11   on Plaintiffs’ Motion to Compel Discovery from Defendants [Dkt. No. 116].

12            Defendants have been trying to secure entry of a comprehensive protective order for more

13   than a month. The parties have exchanged a number of drafts and made compromises including

14   Defendants’ agreement to a number of terms not found in the Court’s model order. 1 In fact, on

15 the very day that Plaintiffs filed their Opposition to this Motion, Defendants believed that the two

16 sides had reached agreement on a comprehensive protective order. Plaintiffs sent a “revised

17 proposal” to Defendants on Sunday, August 16, to which Defendants’ counsel indicated their

18 approval on August 17, 2020 (but asked a question to confirm Plaintiffs’ understanding of where

19 source code would be made available for inspection) (Block Decl. Exh. F at 2 (Dkt. No. 123-7 at

20 3 of 8)). 2 Two hours later, Plaintiffs’ counsel sent to Defendants’ counsel “a few further revisions

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     1
22       For example, on August 11, undersigned counsel wrote to Plaintiffs’ counsel:
              Our responsive comments are attached. Let us know when you would like to discuss them.
23            There are about three instances where there is not ground to give. So, we could have a
24            discussion about alternative language, but if the concepts are unacceptable, then we should
              just ask the court to decide. I think in each of these cases, defendants are in favor of the
25            model order language.

26 (Block Decl. Exh. F at 4 (Dkt. No. 123-7 at 5 of 8).)
   2
     Indicating their willingness to accept Facebook’s proposal and to provide information pursuant
27 to what was understood to be an agreed-upon protective order, counsel for Defendants even asked
   whether Plaintiffs would agree that the parties could treat the protective order as being in effect
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 1   to 14.3,” (Id. Exh. F at 2 (Dkt. No. 123-7 at 3 of 8) (emphasis added)), the protective order’s

 2   “Export Control” provisions. (Id. Exh. G.) These “further revisions” impose substantial additional

 3   burdens on a producing party relating to the export of technical data and create a breeding ground

 4   for discovery disputes to be resolved by the Court. (Block Decl. Exh. G at 23 (Dkt. No. 123-8 at

 5   24 of 28) (inserting additional disputable standards such as identifying controlled technical data

 6   “with particularity,” requiring a log listing “each such piece of technical data on a document-by-

 7   document or similar basis,” and two separate “reasonable efforts” requirements for Defendants’

 8   prosecution of export license applications in Israel and “cooperat[ing] with” as-yet unknown

 9 “foreign counsel” to be engaged by Plaintiffs and disclosing “Protected Material” to that counsel.)

10          Since Plaintiffs’ August 17 regressive bargaining on the export control provision, the

11 parties have been trying to reach a compromise. At this point, however, it is uncertain whether the

12 parties will be able to reach a comprehensive agreement, and, if they can, whether it can be reached

13 in time to permit Defendants to be fully forthcoming in their opposition to Plaintiffs’ Motion to

14 Compel, the opposition to which is due September 2. The parties may have to submit their

15 competing proposals as to the language of section 14.3 (Export Control) of a comprehensive

16 protective order to the Court. For these reasons, good cause exists for entry of an interim protective

17 order, until that dispute can be resolved by the parties or presented to the Court.

18          C. Plaintiffs’ Complaints About Omissions From Defendants’ Proposed Protective Order

19              are Ironic, but Defendants have Revised their Proposed Protective Order to Address

20              Those Concerns

21          Plaintiffs devote much of the Opposition to bemoaning of the fact that Defendants’

22   proposed interim protective order omits certain provisions from the model protective order,

23   namely, language from paragraphs 3, 5.1, 7.2, 7.3 and 11. Defendants’ first proposal for an interim

24   protective order was the model order in its entirety, however, which Plaintiffs categorically

25   refused. (Akro. Decl. ¶ 5.) Next, Defendants sent to Plaintiffs substantially the version attached

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27   between time it is submitted to the Court and the Court’s entry of it. (Block Decl. Exh. F at 2 (Dkt.
     No. 123-7 at 3 of 8).)
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 1   to their motion, and Plaintiffs refused to discuss it. (Akro Decl. ¶¶ 6-7.) Considering this

 2   chronology of events, the Court should view with skepticism Plaintiffs’ complaints about the

 3   absence of certain model order provisions in Defendants’ proposed order.

 4           Notwithstanding the irony of Plaintiffs’ protestations, Defendants are attaching as Exhibit

 5   A to this reply a [Revised Proposed] Protective Order that addresses all of Plaintiffs’ concerns,

 6   with the exception of paragraph 7.3. Defendants’ new information cannot be legally shared with

 7   persons other than the Court, Plaintiffs’ outside counsel, and certain, specific senior Facebook

 8   executives. The omissions from paragraph 7.3 in Defendants’ two proposed orders comport with

 9   Defendants’ legal obligations. Exhibit A hereto includes the complete model order language from

10   paragraphs 3, 5.1, 7.2 and 11 of the model protective order and thus should address the concerns

11   Plaintiffs raise in their Opposition.

12           III.    CONCLUSION

13           For the foregoing reasons, Defendants ask the Court to grant their motion and enter the

14   [Revised Proposed] Protective Order attached hereto as Exhibit A.

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16   DATED: August 24, 2020                           KING & SPALDING LLP
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18
                                                      By: /s/ Joseph N. Akrotirianakis _________
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20                                                        AARON S. CRAIG
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21                                                        TECHNOLOGIES LIMITED and Q
                                                          CYBER TECHNOLOGIES LIMITED
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